Case 2:17-cV-00198-D.]H Document 23 Filed 12/22/16 Page 1 of 3

Name and address:

Nicholas J. Begakis (253588)
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UN[TED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORN!A

 

 

 

CARPENTERS SOUTHWBST ADMINISTIVE
CORPORATION, a California non-profit corporation, et al. CASE NUMBER
P\aintiff(s), 2:16-cv-08040-MWF‘SK
V. AMENDED
HKB, INC., an Arizona corporation, doing business as APPL[CAT[ON OF NON"RES!DENT ATTO RNEY
so umwasr rNousrmAL RrGGlNG, et al.. TO APPEAR lN A SPEClFIC CASE
Defendant(s), PRO HAC VICB

 

U SFR L

(1) The attorney seeking to appear pro hac vice must complete Seetion I of this Application. personally sign, in inl<, the certification tn
Sectian Il, and have the designated Lacal Counsel sign in Section III. ELECTRONIC SIGNATURESARE NOTACCEPTED.
Space to supplement responses is provided in Seclion lV. The applicant must also attach a Certificate ofGood Standing (issued
within the last 30 days) from every state barta which he or she is admitted:jailure to do so will be grounds for denying the
Applieation. Scan the completed Application with its original ink signaturel together with any attachment(s), to a single Portable
Document Format (PDI")jile.

(2) Have the designated Local Counseljile the Application electronically (using the Court's CM/ECF System), attach a Proposed Order
(using Form G-64 ORDER, available from the Court's website), and pay the required $325 fee online at the time of filing ( using a
credit card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing
will be grounds for denying the Application. out-af-state federal government attorneys are not required to pay the S325fee.
(Certain attorneys for the United States are also exempt from the requirement of applying far pro hac vice status. See L.R. 83-2.1.4.)
A copy of the G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.

§E§ILQE.!;INMMATJQH
HOLLAND, IR., IAMES E.

 

 

 

 

 

Applicant's Name (Last Name, First Name eb'Middle lnitial) check here If federal government attorney |'_`|
STINSON LEONARD STREET LLP
Firm/Agency Name
1850 North Central Avenue, Suite 2100 602~279-1600 602~240-6925
Telephone Number Fax Number
Street Address
Phoenlx, Arizona 85004 james.holland@stinson.com
City, Siaie, Zip Code E-mail Address

l have been retained to represent the following parties:

HKB, INC., dba SOUTHWEST INDUSTRIAL RIGGING [:] Plaintij(s) |_Y_] Defendant(s) |:] Other:
HARRY BAKER; SCOT'I` MILLER; ]AMES WILSON [:] Plaintijf(s) 121 Defendant(s) ["_"l Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section 1V if more room is needed, or to provide additional information

game of §§an Qgie of Admission Agtlg_e Mgmher in Ggod Sfandlngf ill nQi, please explaig)

Supreme Court of State of Arizona October 22, 2002 Yes
U.S. District Court - District of Arizona Decemher 9, 2002 Yes

 

 

G~64 (6/|6) APPLICATION OF NON-RES!DBNT A'I'I`ORNE¥ TO APPEAR IN A SPEC|F!C CASE PRO HAC VICE Page l of 3

 

Case 2:17-cV-00198-D.]H Document 23 Filed 12/22/16 Page 2 of 3

 

List all cases in which the applicant has applied to this Court for pro hac vice status ln the previous three years (continue in Section lV if
needed): t

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37-2015-00027266 Robson v. Leonhardt 12-7~16 Pending

 

 

 

 

 

If any pro hac vice applications submitted within the past three (3) years have been denied by thc Court. please explains

 

 

 

 

Has the applicant previously registered as a CM/ECF user in the Central District of California? [:] Yes fz| No
lf yes, was the applicant's CM/ECF User account associated with the e~mail address provided above? [:| Yes E No

 

Previous E-mail Used ( if applicable)

Attorneys must be registered for the Court's Case Management/Electronic Case Filing ("CM/ECF") System to be admitted to practice pro hac
vice in this Court. Submission of this Application will constitute your registration (or re-registration) as a CM/ECF User, if the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing account you identified above
will be associated with your case. Pursuant to Local Rule 5-3.2.3. registering as a CM/ECI~` User is deemed consent, for purposes ofFed. R. Civ.
P. 5(b)(2)(E), to electronic service of documents through the CM/ECP System. You have the right to withhold or revoke your consent to
electronic service at any time.' simply complete and return a Central District Electrom'c Servlce Exemption Form (Form G-05, available from
the Court’s website). if the Court receives an Electronic Service Exemption I~`orm from you, you will no longer receive notice by e-mail when
Court orders or other documents are filed in cases in which you are counsel of record,' instead, copies of such documents will be sent to you

through the mail.

SE IO l~ E TIFI TION

t declare under penalty of perjury that:
(l) All of the above information is true and correct.
(2) l am not a resident of the State ofCallfornia. l am not regularly employed in, or engaged in substantial business,

professional, or other activities in the State of California.
(3) l am not currently suspended from and have never been disbarred from practice in any court.
(4) l am familiar with the Court's Local Civil and Criminal Rules, the Fedcral Rules of Civil and Criminal Procedure,

and the Federal Rules ovaldence.
(5) l designate the attorney listed in Section Ill below, who is a member ln good standing of the Bar of this Court and

maintains an office in the Central District of California for the practice of law, as local counsel pursuant to Local
Rulc 83-2.1.3.4.

Datcd December 21, 2016 ]ames E. Holland, Ir. /'
Applicant's Narne (pleas '

   
 

G-64 (6/16) APFLlCATlON OF NON-RES]DENT ATTORNEY TO APPEAR lN A SPEClFlC CASE PRO HAC V]C£ Page 2 of 3

 

Case 2:17-cV-00198-D.]H Document 23 Filed 12/22/16 Page 3 of 3

 

Tl NII-DES ATI FL C

 

Designee's Name (Last Name, First Name dr Middle lnitial)
Begakis, Nicholas ].

 

 

 

 

 

Firm/Agency Name

LimNexus LLP 213-955-9500 ext. 132 213-955-9511
1055 West Seventh Street, 28th Floor T°’lePh""e N“"‘b‘" Pax N“ml'”
Street Address Nicchegakis@LimNexus.com

E-mail Address

253588
Designee's California State Bar Number

Los Angeles, CA 90017
City, State, Zip Cade

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that l maintain an office in the
Centxal District of California for the practice of law.

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l - LE E RS A TACH DlTI LP GESIF EC SA Y

Nicholas ]. Begakis

Desl a e

     
 
   

esignee's Signature

 

 

 

 

G-64 (6/16) A?PLICA'HON OF NON-RESlDENT A'I'I`ORNEY TO APPEAR lN A SPECIF|C CASE PRO HAC VICE Page 3 Of 3

 

